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3                              UNITED STATES DISTRICT COURT

4                                     DISTRICT OF NEVADA

5                                                 ***

6      MARCUS WASHINGTON,                               Case No. 3:19-cv-00256-MMD-WGC

7                                  Petitioner,                      ORDER
             v.
8
       WARDEN WILLIAM GITTERE, et al.,
9
                               Respondents.
10

11

12          Petitioner has filed an unopposed motion for extension of time (second request)

13    (ECF No. 52) in response to Respondents’ motion to dismiss (ECF No. 27). The Court

14    finds good cause exists to grant the unopposed motion for extension of time.

15          It is therefore ordered that Petitioner’s motion for extension of time (ECF No. 52)

16    is granted. Petitioner will have up to, and including December 3, 2020, to file and serve

17    his response to Respondents’ motion to dismiss.

18          DATED THIS 20th Day of October 2020.

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                                                 MIRANDA M. DU
21                                               CHIEF UNITED STATES DISTRICT JUDGE

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